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   12
                                   UNITED STATES DISTRICT COURT
   13
                                 SOUTHERN DISTRICT OF CALIFORNIA
   14
      TARLA MAKAEFF, et al., on Behalf of           ) No. 3:10-cv-00940-IEG(WVG)
   15 Themselves and All Others Similarly Situated, )
                                                    ) CLASS ACTION
   16                                Plaintiffs,    )
                                                    ) PLAINTIFFS’ OPPOSITION TO
   17        vs.                                    ) DEFENDANT TRUMP UNIVERSITY,
                                                    ) LLC’S MOTION TO DISMISS UNDER
   18 TRUMP UNIVERSITY, LLC, et al.,                ) RULES 12(b)(6) AND 9(b)
                                                    )
   19                                Defendants.    ) DATE: March 21, 2011
                                                    ) TIME: 10:30 a.m.
   20                                                 CTRM: 1
                                                      JUDGE: Hon. Irma E. Gonzalez
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           1         Plaintiffs Tarla Makaeff, Brandon Keller, Ed Oberkrom, and Patricia Murphy (collectively

           2 “Plaintiffs”) respectfully submit this memorandum in opposition to Defendant Trump University,

           3 LLC’s (“Defendant” or “Trump University”) Motion to Dismiss under Rules 12(b)(6) and 9(b)

           4 (“Motion”).

           5 I.      INTRODUCTION
           6         This Court has already upheld many of Plaintiffs’ claims in its previous order denying in

           7 large part Trump University’s motion to dismiss Plaintiffs’ First Amended Class Action Complaint

           8 (“FAC”). Trump University’s Motion now seeks to dismiss in part Plaintiffs’ Second Amended

           9 Class Action Complaint, filed December 16, 2010 (“SAC”), re-treading old ground already rejected

       10 as to the breach of contract claims. In addition, it seeks to dismiss Plaintiffs’ fraud-based claims for

       11 lack of specificity even though Plaintiffs have added sufficient details to put Trump University on

       12 notice of their claims. Finally, Trump University argues matters of disputed facts clearly beyond the

       13 reach of a motion to dismiss. This Court should deny its Motion as explained herein.

       14            As the Court is aware, this class case concerns Trump University’s use of the name and

       15 reputation of its founder, Donald J. Trump, Sr., a celebrity real estate tycoon, to lure unwitting

       16 consumers into purchasing real estate seminars and mentoring services at a premium. Plaintiffs

       17 bring this action because they were duped into purchasing expensive Trump University real estate

       18 seminars and mentoring services whose features were grossly misrepresented.1
       19            As explained herein, Plaintiffs have sufficiently alleged their claims for unfair competition

       20 and consumer fraud, false advertising, contract-based claims, and common law fraud-based claims at
       21 the pleadings stage. Defendant’s Motion should be denied.

       22 II.        LEGAL STANDARDS ON MOTION TO DISMISS
       23            As this Court correctly pointed out in its prior order denying in large part Defendant’s motion

       24 to dismiss, the “court must accept all factual allegations pled in the complaint as true, and must
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       26      1
                 For brevity, Plaintiffs do not here repeat the factual allegations of the SAC, but refer the
       27 See Dkt. pages
          Court to       2 through 8 of their opposition to Trump University’s motion to dismiss the FAC.
                   No. 25 at 2-8.
       28

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           1 construe them and draw all reasonable inferences from them in favor of the nonmoving party.” Dkt.

           2 No. 33 (“10/12/10 Order”) at 3 (citing Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th Cir.

           3 1996)). The “complaint need not contain detailed factual allegations, rather, it must plead ‘enough

           4 facts to state a claim to relief that is plausible on its face.’” Id. (quoting Bell Atl. Corp. v. Twombly,

           5 550 U.S. 544, 570 (2007)). If the plaintiff alleges a facially-plausible theory, the court should deny

           6 the motion to dismiss. Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir 2008) (reversing

           7 grant of motion to dismiss).

           8          Plaintiffs have met this standard. Thus, Defendant’s motion to dismiss must be denied.

           9 III.     PLAINTIFFS HAVE ADEQUATELY ALLEGED THEIR CLAIMS
       10             A.      As the Court Previously Found, Plaintiffs Have Adequately Alleged
                              Their Contract-Based Claims
       11
                      The Court previously found that Plaintiffs have stated breach of contract claims against
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               Trump University, including their claims for breach of contract, breach of the implied covenant of
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               good faith and fair dealing, and money had and received. See 10/12/10 Order at 7. Nevertheless,
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               Trump University again seeks to dismiss these same claims on the basis that a couple of new
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               allegations in the SAC, along the lines of what was already in the FAC, “strip away even that thin
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               veneer of plausibility.” Memorandum of Points and Authorities in Support of Trump University’s
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               Motion, filed January 31, 2011 (“Def’s Mem.”) at 5.
       18
                      But, Plaintiffs’ breach of contract claims remain materially the same as they were in the
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               FAC, which this Court has already upheld against attack. Defendant complains that Plaintiffs have
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               added new “vague ‘terms’” to the breach of contract claims, such as allegations about the one-year
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               mentoring program. See id. at 6. However, it need not look any further than this Court’s order
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               denying its prior motion to dismiss on the contract claims to discern that the allegations it is
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               concerned about were in the prior FAC. As the Court observed in its order, the FAC included
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               allegations that “Defendant promised a year-long mentoring program, three-day field mentorship,
       25
               and experienced real estate instructors and mentor hand-picked by Donald Trump,” but did not
       26
               deliver. 10/12/10 Order at 6. These are the types of allegations that Defendant now takes issue with
       27
               as being “new” terms of the contract. See Def’s Mem. at 6 (arguing that new vague terms such as
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           1 mentoring for a year render Plaintiffs’ breach of contract claims in the SAC implausible).

           2 Defendant’s argument is meritless.

           3          Further, Defendant apparently still misunderstands the nature of Plaintiffs’ claims by arguing

           4 yet again that the terms are not detailed in the contract. However, as this Court observed in its

           5 previous Order, Plaintiffs have alleged that Trump University made material promises to Class

           6 Members in standardized presentations which formed the basis of their bargain. 10/12/10 Order at 6.

           7 These are all spelled out in detail in the SAC.2 ¶¶33-57. Plaintiffs have not changed the nature of

           8 their contract claims; they have merely added detail to ensure satisfaction of pleading standards.

           9          Defendant cannot feign ignorance as to the nature of Plaintiffs’ contract claims. Plaintiffs

       10 have satisfied Rule 8(a) standards for alleging their contract-based claims. Thus, Plaintiffs

       11 respectfully submit that the Court should again deny its motion to dismiss as to these claims.

       12             B.      Plaintiffs Adequately Alleged Negligent Misrepresentation, Fraud and
                              False Promises Against Trump University
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                      Trump University contends that Plaintiffs have not alleged with sufficient particularity their
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               claims for negligent misrepresentation, fraud, and false promises. For the reasons below, Trump
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               University’s argument fails.
       16
                      The Court previously held that Plaintiffs’ causes of action for negligent misrepresentation,
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               fraud and false promise are governed by Rule 9(b). See 10/12/10 Order at 8. Rule 9(b) requires only
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               that Plaintiffs’ allegations are “‘“specific enough to give defendants notice of the particular
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               misconduct . . . so that they can defend against the charge and not just deny that they have done
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               anything wrong.”’”3 Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009). This Court
       21
               found “it is not clear from the FAC to which Plaintiffs [the alleged misrepresentations] were made
       22
               and when.” 10/12/10 Order at 8. Plaintiffs have remedied this ambiguity in the SAC.
       23
                      In fact, for each alleged misrepresentation, the SAC specifies to which Plaintiffs each
       24
               alleged misrepresentation was made – whether to Tarla Makaeff, Brandon Keller, Ed Oberkrom, or
       25

       26      2
                      All “¶” and “¶¶” references are to the SAC, unless otherwise noted.
       27      3
                      Here, as elsewhere, emphasis is added and citations are omitted, unless otherwise noted.
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           1 Patricia Murphy. See ¶¶133-142. And, for each misrepresentation, the SAC provides when such

           2 misrepresentation was made. Id. Specifically:

           3         •      Misrepresentations about the year-long mentoring program: These standardized
                            misrepresentations were made at Trump University seminars, including to Plaintiff
           4                Brandon Keller on or about November 18, 2009, and December 6-8, 2009; Tarla
                            Makaeff in August 2008; and Ed Oberkrom in March 2009. ¶¶134, 135.
           5
                     •      Misrepresentations about the three-day field mentorship: These standardized
           6                misrepresentations were made at Trump University seminars, including to Plaintiff
                            Brandon Keller on or about November 18, 2009, and December 6-8, 2009; Tarla
           7                Makaeff in August 2008; and Ed Oberkrom in March 2009. ¶136.

           8         •      Misrepresentations about instructors and mentors: These standardized
                            misrepresentations were made at Trump University seminars, including to Plaintiffs
           9                Brandon Keller on or about November 18, 2009, and December 6-8, 2009; Ed
                            Oberkrom on or about March 2009; Tarla Makaeff in August 2008; and Patricia
       10                   Murphy on or about January 27 to March 12, 2007. ¶137.

       11            •      Misrepresentations about prior student experiences: Misleading testimonials were
                            uniformly provided at Trump University seminars, including to Plaintiffs Brandon
       12                   Keller on or about November 18, 2009, and December 6-8, 2009; Tarla Makaeff in
                            August 2008; Ed Oberkrom in March 2009; and Patricia Murphy on or about January
       13                   27 to March 12, 2007. ¶139.

       14            •      Misrepresentations about the training provided: These misrepresentations were
                            uniformly made at Trump University seminars, including to Plaintiffs Brandon
       15                   Keller on or about November 18, 2009, and December 6-8, 2009; Tarla Makaeff in
                            August 2008; Ed Oberkrom in March 2009; and Patricia Murphy on or about January
       16                   27 to March 12, 2007. ¶140.

       17            •      Misrepresentations that consumers should raise their credit card limits: These
                            misrepresentations were uniformly made at Trump University Seminars, including to
       18                   Plaintiff Brandon Keller on or about November 18, 2009, and December 6-8, 2009;
                            Tarla Makaeff in August 2008; Ed Oberkrom in March 2009; and Patricia Murphy
       19                   on or about January 27 to March 12, 2007. ¶142.

       20            Further, Plaintiffs allege who made the misrepresentations – Trump University

       21 representatives and/or Donald Trump. Trump University complains that Plaintiffs do not allege the

       22 particular speaker at Trump University seminars who made the statement. Def’s Mem. at 3. This is
       23 not required. The Court previously found that the misrepresentations themselves were adequately

       24 alleged, and Plaintiffs only needed to add to which Plaintiffs the statements were made and when.
       25 10/12/10 Order at 8. Furthermore, the speakers worked from a standardized script and were

       26 employees or agents of Trump University (¶¶11, 133). Defendant surely has records of which
       27 instructors spoke at the seminars on the dates listed in the Complaint, and once Plaintiffs obtain these

       28 records in discovery, they will be able to provide the names of the instructors and mentors as well.

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           1 In any event, the misrepresentations are alleged with sufficient detail to put Trump University on

           2 notice of the misconduct alleged. See Committee on Children’s Television, Inc. v. General Foods

           3 Corp., 35 Cal. 3d 197, 214, 217 (1983) (finding that complaint which summarizes

           4 misrepresentations is sufficient to state a misrepresentation claim, even if it does not “set out each

           5 advertisement verbatim, and specif[y] the time, place and medium,” and noting that the place and

           6 time of advertisements is “fully known to defendant” but often only available to plaintiffs during

           7 discovery).

           8          Defendant also continues to make reliance arguments. See Def’s Mem. at 3-5. However, this

           9 Court previously found that “whether Plaintiffs relied on these alleged misrepresentations is a

       10 question of fact,” and “the Court declines to make this determination at this stage.” 10/12/10 Order

       11 at 8 (citing Salinas v. Souza & McCue Constr. Co., 66 Cal. 2d 217, 223-24 (1967); McClain v.

       12 Octagon Plaza, LLC, 159 Cal. App. 4th 784, 794 (2008)).

       13             To the extent that Defendant contends Plaintiffs paid for the seminars before the

       14 misrepresentations were made and thus could not have relied upon them, that is incorrect. As the

       15 SAC makes clear, the misrepresentations are used to upsell Class Members to the next level. In

       16 addition, before attending the seminars, each Plaintiff (besides Makaeff) received and reviewed

       17 advertisements and/or viewed Trump University’s website promising that Donald Trump and his

       18 university would teach them Donald Trump’s insider success secrets, the skills for conducting real
       19 estate transactions, and give them access to amazing instructors and mentors “hand-picked by

       20 Donald Trump.” ¶¶25-27, 34, 70, 76, 79. Plaintiff Brandon Keller received an email advertisement
       21 about Trump University in the fall of 2009, prior to attending the free seminar on November 18,

       22 2009. ¶¶25, 79. Plaintiff Ed Oberkrom reviewed an advertisement before the seminar he attended in
       23 February 2009.         ¶¶26, 70.    Plaintiff Patricia Murphy heard or saw radio and/or television

       24 advertisements before she took Trump seminars in January 27, 2007. ¶¶27, 76. And, Tarla Makaeff
       25 was given misrepresentations about the programs and mentorship during the three-day $1,500

       26 seminar in August 2008. ¶¶24, 59(b). Thus, Defendant is incorrect in asserting Plaintiffs had
       27 already purchased all the products and services complained of by the time the alleged

       28 misrepresentations were made.

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           1          Finally, as to Plaintiffs’ allegations that Trump University used false, misleading, and

           2 sometimes completely fabricated student testimonials in violation of FTC guidelines (¶155),

           3 Defendant complains that Plaintiffs fail to specify which FTC guideline was violated. Def’s Mem. at

           4 4. Such an allegation is unnecessary. Plaintiffs need not cite the specific guideline violated to put

           5 Trump University on notice of the conduct at issue – Plaintiffs clearly allege that falsifying student

           6 testimonials and guaranteeing income levels to pay back the exorbitant seminar costs is a violation of

           7 the FTC Act. ¶¶17, 139, 155. In any event, the FTC Guideline Trump University violated was 16

           8 C.F.R. §§255.0-255.5 (2011), concerning the use of endorsements and testimonials in advertising.

           9 The allegations in ¶155 are certainly sufficient to put Trump University on notice of the misconduct

       10 alleged and are thus actionable. Kearns, 567 F.3d at 1124.

       11             The SAC alleges Plaintiffs’ misrepresentation, fraud, and false promise claims with

       12 “‘“specific enough”’” allegations “‘“to give defendants notice of the particular misconduct . . . so

       13 that they can defend against the charge and not just deny that they have done anything wrong.”’” Id.

       14 Plaintiffs’ misrepresentation, deceit and fraud claims should be upheld.

       15             C.      Plaintiff Makaeff Has a Claim for False Advertising
       16             Trump University argues that Plaintiff Makaeff cannot state a claim under California’s False

       17 Advertising Law (“FAL”) because she did not allege she saw or relied on its advertising before she

       18 signed up for a seminar with Trump University. Def’s Mem. at 6.
       19             However, as the California Supreme Court recently confirmed, a violation of the UCL’s

       20 fraudulent prong is also a violation of the FAL. In re Tobacco II Cases, 46 Cal. 4th 298, 312 (2009).
       21 Because Plaintiffs properly plead a violation of the UCL’s “fraudulent” prong (see 10/12/10 Order at

       22 10), they also properly plead a violation of the FAL and vice versa. See Tobacco II, 46 Cal. 4th at
       23 312.

       24             Further, even though Plaintiff Makaeff did not see Defendant’s deceptive advertising before

       25 she purchased the $1,500 seminar, she was exposed to Trump University’s misleading statements

       26 prior to purchasing Trump University’s other products and services to which she was later upsold.
       27 See ¶¶24, 61, 63. Notably, oral representations can constitute false advertising. See People v. Dollar

       28 Rent-A-Car Sys. Inc., 211 Cal. App. 3d 119, 128 (1989) (finding that FAL prohibits the use of any

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           1 untrue or misleading statements in selling products or services, including the use of false or

           2 misleading oral statements). Trump University made numerous false and misleading statements

           3 about the $35,000 seminar during the $1,500 seminar that Ms. Makaeff attended in August, 2007,

           4 prior to her purchasing the Gold Program and other services. ¶¶24, 61-62. This is sufficient to state

           5 claims under the FAL on behalf of all Plaintiffs, including Ms. Makaeff.

           6          D.     Plaintiffs Adequately Allege Violations of New York Law
           7          Defendant argues that Plaintiffs fail to allege a cause of action under New York’s General

           8 Business Law §349 for two reasons: (1) the Trump courses Patricia Murphy took were not from

           9 Trump University, but another Trump entity; and (2) Patricia Murphy took the courses in

       10 Philadelphia and Florida, rather than in New York.           Def’s Mem. at 2. The first argument is

       11 addressed in Plaintiffs’ Opposition to Trump University’s motion to strike – Plaintiffs have alleged

       12 that Patricia Murphy took courses from Trump University (¶¶27, 76-77), and Plaintiffs’ allegations

       13 must be taken as true on a motion to dismiss. Cahill, 80 F.3d at 337-38. Indeed, the contracts

       14 signed by Patricia Murphy state “Trump University” and “Trump Institute” at the top, and at all

       15 times Ms. Murphy believed she was taking courses from Trump University. Defendant’s motion to

       16 dismiss the New York claim on this ground should be denied.

       17             As to Defendant’s second argument, Defendant too narrowly interprets New York’s

       18 consumer protection law.4 Section 349 declares unlawful any “[d]eceptive acts of practices in the
       19 conduct of any business, trade or commerce or in the furnishing of any service in this state.” N.Y.

       20 Gen. Bus. Law §349. Interpreting §349, the New York Court of Appeals has held that residents and
       21 non-residents of New York may assert claims under §349. Goshen v. Mut. Life Ins. Co. of New

       22 York, 98 N.Y.2d 314, 324 (2002); see also Ring v. AXA Fin., Inc., No. 111869/04, 2009 NY Slip Op
       23 31270U, at *7-*8 (N.Y. Sup. Ct. June 12, 2009); People v. H&R Block, Inc., No. 401110/2006, 2007

       24 NY Slip Op 51562U, at *8-*9 (N.Y. Sup. Ct. July 9, 2007).
       25

       26      4
                 Plaintiffs acknowledged in their prior opposition to Trump University’s motion to dismiss the
       27 Order at 10then.5.
          FAC  that       Trump courses Patricia Murphy took were in Florida and Pennsylvania. 10/12/10

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           1         Here, Trump University conducted seminars and coaching sessions in New York as well as

           2 the rest of the country.    ¶¶28, 29, 32-60.      Plaintiffs further allege Trump University sent

           3 advertisements and correspondence to Plaintiffs and Class Members nationwide, including in the

           4 State of New York. ¶¶18(f)-(g), 34, 59(f). Ms. Murphy, a current New York resident and former

           5 Pennsylvania resident, attended and purchased Trump seminars, coaching sessions and software, and

           6 received signed letters and advertisements from Trump University, as well as Donald Trump himself

           7 in New York, including an advertisement by Donald Trump she viewed in the New York Post

           8 asking: “Don’t think you can profit in this market? You can. And I’ll show you how,” promising

           9 “priceless” information from Donald Trump’s “hand-picked instructors.” ¶¶18(f), 34, 58(c).

       10 Murphy received a “Special Invitation from Donald Trump” to attend Trump University at any of

       11 three different New York locations, and she received a signed letter from Donald Trump inviting her

       12 to a “FREE Trump Training Workshop” where “[m]y hand-picked instructors and mentors will show

       13 you how to use real estate strategies to . . . [s]tart profiting today!” ¶¶18(c) & (f), 27, 34, 59(c)&(f).

       14            Trump University argues that Plaintiffs have not satisfied the “residency requirement of the

       15 statute” because Ms. Murphy did not contract for or physically attend any Trump University classes

       16 in New York. Def’s Mem. at 7. However, as explained above, there is no residency requirement. A

       17 “plaintiff may assert a claim under Section 349 for out-of-state deception, as long as it led him to

       18 take a related action in New York.” Gunther v. Capitol One, N.A., 703 F. Supp. 2d 264, 276
       19 (E.D.N.Y. 2010) (court allowed plaintiff to amend complaint to assert that he was assessed improper

       20 fee withdrawals of cash from ATMs in NYC). Indeed, in People v. Telehublink Corp., 301 A.D.2d
       21 1006 (2003), the court found the interests of New York sufficient to invoke §349 when defendant

       22 used a New York address to send and receive correspondence related to the scheme.
       23            Here, the interests of New York were implicated when Trump University, located at 40 Wall

       24 Street, New York, sent letters and advertisements to New York residents and non-residents alike,
       25 including Murphy. “New York has a vital interest in ‘securing an honest marketplace in which to

       26 transact business’ and that interest was threatened when [defendant] used a New York address to
       27 complete the deceptive transactions at issue here.” Telehublink Corp., 301 A.D.2d at 1010 (citing

       28 New York by Abrams v. Gen’l Motors Corp., 547 F. Supp. 703, 705-06 (S.D.N.Y. 1982)). Trump

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           1 University’s use of its New York address to send nationwide misrepresentations via advertisements

           2 and correspondence satisfies §349. At the pleading stage, the New York Gen. Bus. Law §349 claims

           3 should be upheld.

           4 IV.     CONCLUSION
           5         For the foregoing reasons, Plaintiffs respectfully submit that the Court should deny Trump

           6 University’s Motion to Dismiss. However, should the Court decide to grant any portion of

           7 Defendant’s motion, Plaintiffs respectfully seek leave to amend their Complaint.5

           8 DATED: March 7, 2011                            Respectfully submitted,

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                 Moss v. United States Secret Serv., 572 F.3d 962, 972 (9th Cir. 2009) (“requests for leave
          should be granted with ‘extreme liberality’”; failure to dismiss “‘“without leave to amend is
       27 improper
                   unless it is clear . . . that the complaint could not be saved by any amendment”’”).
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           1                                     CERTIFICATE OF SERVICE

           2          I hereby certify that on March 7, 2011, I authorized the electronic filing of the foregoing with

           3 the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

           4 e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

           5 caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

           6 CM/ECF participants indicated on the attached Manual Notice List.

           7          I certify under penalty of perjury under the laws of the United States of America that the

           8 foregoing is true and correct. Executed on March 7, 2011.

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                                                                   s/ Amber L. Eck
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Mailing Information for a Case 3:10-cv-00940-IEG -WVG
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